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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                                               )
                                                 )
                       Plaintiff,                )
                                                 )
       vs.                                       )         CRIMINAL NO. 14-CR-1261 RB
                                                 )
PAWAN KUMAR JAIN,                                )
                                                 )
                       Defendant.                )


                    UNITED STATES= SENTENCING MEMORANDUM

       The United States hereby respectfully requests that the Court accept the parties’ plea

agreement, entered into by the parties on February 11, 2016. (Doc. 81). Further, the United

States requests that the Court sentence the defendant to 108 months (9 years), the high end of the

agreed-upon sentencing range, pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).

(Doc. 81.)

   I. BACKGROUND

       On July 23, 2015, the defendant was charged by the Grand Jury in a 138-count Second

Superseding Indictment with unlawful dispensing of a schedule II controlled substance (Counts

1, 3, 5, and 6 also charge resulting deaths), in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and

health care fraud (Counts 2, 4, and 7 also charge resulting deaths), in violation of 18 U.S.C.

§ 1347(a). (Doc. 65.) The Court entered an Order declaring this case complex on April 30,

2014, following the original Indictment, which was filed on April 16, 2014, and the defendant’s


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arrest on April 17, 2014. (Doc. 2.) On February 11, 2016, the defendant pled guilty, with the

benefit of a plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), to the

lesser included offense in Count 1 of unlawful dispensing of a controlled substance, in violation

of 21 U.S.C. §§ 841(a)(1), (b)(1)(C); and to the lesser included offense in Count 2 of health care

fraud. By entering the plea agreement, the defendant has reduced his sentencing exposure for

Count 1 from a mandatory minimum of 20 years with a maximum of life imprisonment, to a

statutory maximum sentence of 20 years of imprisonment. Additionally, he reduced his

sentencing exposure for Count 2 from any term of imprisonment including life imprisonment, to

a statutory maximum of 10 years.

       The pre-sentence report (PSR) was disclosed on December 12, 2016. (Doc. 83.) On

April 2, 2018, the defendant filed his formal objections to the PSR. (Doc. 87.) After seeking

and receiving an extension of time to respond to the objections, the government filed its response

to the defendant’s PSR objections on May 21, 2018. (Doc. 96.)

       The Court held an evidentiary hearing as to the defendant’s objections to the PSR, which

began on November 20, 2018, and continued on December 5 and 6, 2018. Following the

hearing, and after receipt of the parties’ separate proposed findings of fact and conclusions of

law (Docs. 115 and 116), on March 11, 2019, the Court entered its findings of fact and

conclusions of law and denied the defendants objections, with which the government concurs.

(Doc. 117). The defendant’s sentencing hearing is set on May 9, 2019, and this memorandum is

filed in advance thereof and in support of the government’s request that the Court impose a

sentence of 108 months.


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   II. THE COURT’S FACTUAL FINDINGS AND LEGAL CONCLUSIONS SUPPORT
       A SENTENCE OF NINE YEARS.

       The Court has heard extensive testimony, reviewed the pleadings filed by the parties, and

is familiar with the facts of this case. Therefore, the facts are not repeated in detail here.

       All of the prescriptions that the defendant wrote to MEB, ND, RB, TB, MJB, SC, AU,

LD, BL, and LT, which are charged in the Second Superseding Indictment “were issued outside

the usual course of medical practice and without a legitimate medical purpose” and are relevant

conduct for sentencing purposes. (Doc. 117, at pages 15-16.) Not only was MEB a vulnerable

victim, but all of the other patients named in the Second Superseding Indictment also were

vulnerable, which warrants a two-level upward adjustment, pursuant to USSG § 3A1.1(b).

(Doc. 117 at 20-23.)

       Furthermore, neither MEB, ND, RB, nor TB would not have died but for the

prescriptions each received from the defendant, on the dates listed in Counts 1-7 of the Second

Superseding Indictment, which also is relevant conduct for the Court to consider in making its

sentencing determination. (Doc. 117 at 16, 23-24). The United States agrees that this

conclusion does not mandate a sentence at the high-end of the statutory maximum, nor does the

government seek a sentence at or near the statutory maximum of 20 years for Count 1. Yet this

remains an important factor for the Court to consider

       The United States concurs with the Court’s findings of fact and conclusions of law, and

agrees that the final adjusted offense level is 33 which, combined with a criminal history

category of I, results in an advisory guideline sentencing range of 135 to 168 months (11 ¼ years

to 14 years). A sentence within this range could be warranted, to avoid unwanted disparity with

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similarly situated defendants. However, the parties agree that there are circumstances that

warrant a lesser sentence. A sentence of 108 months (9 years) is appropriate in this case and is

supported by the Court’s findings and conclusions.

   III.      THE SECTION 3553(a) SENTENCING FACTORS SUPPORT A SENTENCE
             OF NINE YEARS.

          After United States v. Booker, 543 U.S. 220 (2005) and Rita v. United States, 551 U.S.

338 (2007), the Supreme Court left intact all other provisions of the Sentencing Reform Act,

including 18 U.S.C. § 3553(a). Section 3553(a) continues to require sentencing judges to take

certain factors into account when imposing a sentence, including “the kinds of sentence and the

sentencing range established” by the guidelines. 18 U.S.C. § 3553(a)(4). Therefore, the Court

has an obligation to craft a sentence that sufficiently accounts for the sentencing factors and

objectives outlined in 18 U.S.C. § 3553.

          The Court must consider the nature and circumstances of the offense and the history and

characteristics of the defendant. 18 U.S.C. § 3553(a)(1). The Court should then fashion a

sentence that reflects the seriousness of the offense; promotes respect for the law; and provides

just punishment. 18 U.S.C. § 3553(a)(2). The sentence should also adequately deter the

defendant from committing further crimes; deter others similarly situated; protect the public from

the defendant; and provide necessary education and treatment. Id. When formulating its

sentence, the court must also avoid unwarranted sentencing disparities between defendants with

similar records who have been convicted of similar criminal conduct. 18 U.S.C. § 3553(a)(6).

          As noted by the Supreme Court, the guideline range is the benchmark and starting point

for any federal sentence. Gall v. United States, 552 U.S. 38, 49 (2007). “Before a departure is

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permitted, certain aspects of the case must be found unusual enough for it to fall outside the

heartland of cases in the Guideline.” Koon v. United States, 518 U.S. 81, 98 (1996).

“[W]hether the particular case lies within the heartland of similar offenses is a threshold question

that a district court must decide when determining whether to grant a departure under the

Guidelines.” United States v. Martinez-Barragan, 545 F.3d 894, 900 (10th Cir. 2008). This

type of “heartland analysis is also a legitimate part of the district court’s analysis of whether to

vary from the Guidelines” under 18 U.S.C. § 3553. Id. (emphasis in original).

        The parties have already negotiated a sentence below the correctly calculated guideline

range. For the reasons stated herein, the United States asserts that a sentence of 108 months

would be sufficient, but not greater than necessary to comply with the sentencing factors in 18

U.S.C. § 3553(a), and the United States opposes any further downward departure or variance.

            a. Nature, Circumstances, and Seriousness of the Offense

        The “starting point and initial benchmark” for sentencing must be the defendant’s

criminal conduct. USSG Ch. 5, Pt. H, intro. Comment (citing Gall, 552 U.S. at 49). The

government often cites to Harmelin v. Michigan, 501 U.S. 957, 1002 (1991), for the proposition

that the “possession, use, and distribution of illegal drugs represent one of the greatest problems

affecting the health and welfare” of this country. Furthermore, the Tenth Circuit held in United

States v. Carr, 939 F.2d 1442, 1448 (10th Cir. 1991), not only that “[d]rug trafficking crimes are

serious” but also that any attempt to describe drug distribution as “victimless . . . is false to the

point of absurdity.” Id. In light of the facts in this case, the government asserts that this also is

true of the unlawful prescribing of legal drugs in this country, particularly those highly addictive


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narcotic drugs prescribed for pain. That the drugs in this case – methadone, oxycodone,

morphine, hydromorphone, and Adderall – were legal drugs that were illegally distributed by a

licensed physician makes them no less dangerous, and the crimes no less serious, than those

committed by a heroin dealer peddling to an addict. As the Court heard from Dr. Hail and Dr.

Owen, these drugs are highly addictive and they carry serious side effects and risk of death.

Here, perhaps more than in any other drug case before this Court, there are certainly victims.

Four people – MEB, ND, RB, and TB – each are dead because of the defendant’s illegal drug

distribution.

        Though not required, the Guidelines “permit[] a sentencing court to depart from the

guideline range if the defendant's conduct resulted in death. In determining the extent of a

departure a court should consider: (1) “the defendant's state of mind,” (2) “the degree of planning

or preparation,” (3) “whether multiple deaths resulted,” (4) “the means by which life was taken,”

(5) “the dangerousness of the defendant's conduct,” (6) “the extent to which death or serious

bodily injury was intended or knowingly risked,” and (7) “the extent to which the offense level

for the offense of conviction ... already reflects the risk of personal injury.” United States v.

Bollinger, 893 F.3d 1123, 1125 (8th Cir. 2018) (citing USSG § 5K2.1.) See also United States

v. Montgomery, 550 F.3d 1229, 1237 (10th Cir. 2008) (holding that an upward departure was

warranted because the defendant’s illegal possession of firearms resulted in his wife’s suicide.)

        During the course of the hearing on the defendant’s objections, the Court heard from

family members who expressed the depth of their loss at the hands of the defendant. The Court

heard from Mrs. Pane, MEB’s daughter, that MEB’s death was not only on Christmas Day,


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December 25, 2009, it was also Mrs. Pane’s 22nd birthday, only a week after her brother’s 18th

birthday, and that MEB’s children “don’t enjoy the holidays the same. There is a black cloud

that my brother and I have.” II Tr. at 69. 1 Mrs. Pane gave this description after expressing her

regret that she was not mature enough to express to her mother, before she died, all the gratitude

and love Mrs. Pane wishes she could express now. II Tr. at 68. Mrs. Pane went on to tell the

Court and the defendant,

        It aches my soul that my kids don't remember her. Or that my niece, who looks identical
        to my mother, will never meet her grandma. It's a tragedy that they'll never get the chance
        to have their grandma take them on mountain hikes or to the lake. For nine years, she has
        been gone and the pain is still the same.
II Tr. at 69.

        LD told the court about her own addiction, and the difficult process of getting through

withdrawals to get off of the pain medication she received from the defendant, and that now that

she is off of pain medication, she feels “Very good.” II Tr. at 31, 34-35, 39-41.

        SC’s sister, Ms. Clark, read a joint statement on behalf of all of their family. Ms. Clark

told the Court, “Not only did I lose my only sibling, I lost my best friend. Some say it takes

time, but for us, it only gets worse.” III Tr. at 42-43. Ms. Clark continued, “My life and the

lives of all the people who love Serina have been changed forever. She was not only my sister,

she was a daughter, a mother, and a soon-to-be aunt to my twins. The death of my sister caused

emotional, physical, and financial stress on our family.” III Tr. at 43.

        The Court heard from Mr. Schavier that his mother, BL, was a big part of his life and


1
  Citations to “______ Tr. at _____” are to the volume and page numbers of the three volumes of
the transcript of the three days of the evidentiary hearing, which are filed on the docket as Doc.
110, Doc. 111, and Doc. 113, respectively.
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when she was taking the prescriptions that she received from the defendant, she “lost a lot of her

drive for life….She was more secluded. She stayed home. She didn’t want to do as much.” I

Tr. at 253-255.

       The seriousness of the defendant’s offenses in this case is measured by the quantity of

drugs he prescribed. The combined weight of the controlled substances prescribed by the

defendant totals 2,338.53 kilograms of converted drug weight. However, there is no

quantifiable measure, calculation, or conversion in the Sentencing Guidelines to account for the

pain and loss experienced by the families of MEB, ND, RB, and TB, nor the loss of time,

connection, and relationships experienced by the defendant’s patients and their loved ones who

watched their family members withdraw and deteriorate due to addiction. While the United

States honors its plea agreement and is not seeking a sentence within, let alone above, the

advisory range, the Court should consider the provision outlined in USSG § 5K2.1, and sentence

the defendant at the top of his agreed-upon range. A sentence of 108 months strikes an

appropriate balance that reflects the seriousness of the Defendant’s criminal behavior, but also

considers other factors under 18 U.S.C § 3553(a).

           b. History and Characteristic of the Defendant

       The defendant was born in India and obtained his initial medical training there, and in

Europe, before coming to the United States and later becoming a naturalized United States

citizen. While counsel for the government has not seen the defendant’s final sentencing

memorandum at the time of this filing, counsel anticipate, based on the sentencing letters

submitted on November 19, 2018, that the defendant will argue for a time served sentence based


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upon his age, medical conditions, lack of criminal history, as well as his kindness and support of

his family members. (Doc. 105.) At the time of the defendant’s sentencing hearing, he will

have been in custody for just a few weeks more than five years.

        The United States acknowledges that the defendant has no criminal history. It is for this

reason that he is in Criminal History Category I, and his guideline range is not higher.

However, this factor does not warrant a further variance below 108 months in this case for

several reasons. First, the defendant’s lack of criminal history has already been factored into his

guideline calculation. Furthermore, the defendant’s age and medical condition can be accounted

for in the 27 month variance from the 135 months to 108 months, which is afforded by the

11(c)(1)(C) agreement. However, further variance is unwarranted based on age, medical issues,

and lack of criminal history.

        Furthermore, should the defendant ask the Court to depart to a time-served sentenced

based on aberrant conduct under USSG § 5K2.20,2 the Court should find that such a departure is

not appropriate in light of his commission of a serious drug offense and the lengthy time period

that encompasses his relevant conduct. For the same reasons that a Guideline departure for

aberrant behavior is not appropriate in light of this serious and lengthy drug offense, the Court

should decline the defendant’s request to consider a § 3553 reduction based on aberrant behavior

in this case.




2 “The court may depart downward under this policy statement only if the defendant committed
a single criminal occurrence or single criminal transaction that (1) was committed without
significant planning; (2) was of limited duration; and (3) represents a marked deviation from an
otherwise law-abiding life.” USSG § 5K2.20(b).
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           c. The Need for the Sentence Imposed to Promote Respect for the Law, Provide Just
              Punishment, Adequate Deterrence and to Protect the Public from Further Crimes
              of the Defendant

       In violation of the “first do no harm” principle of medicine, as well as the laws of this

country, the defendant failed to meet the standard of care for treating patients and instead

illegally distributed large quantities of Schedule II controlled substances. The defendant’s

felony drug trafficking conviction itself will achieve some of Congress’ sentencing goals. This

conviction will deter the defendant from committing further crimes of this type, as he has lost his

medical license and DEA registration number, and will not be allowed to practice medicine or

prescribe ever again. A sentence of 108 months will certainly promote respect for the law by the

defendant and among other practitioners in the community, and provide just punishment, which

will serve to protect the public. See 18 U.S.C. § 3553.

           d. The Need to Avoid Unwarranted Sentencing Disparities Between Defendants Who
              Have Committed Similar Crimes

       A sentence of 108 months in the instant matter is necessary in order to avoid further

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct. 18 U.S.C. § 3553(a)(6). The sentencing guidelines set a range of 135

to 168 months for a defendant with the present criminal history category and who is guilty of the

present offense. The parties have agreed to a range below the Guideline range, and a sentence

of 108 months adequately accounts for the defendant’s own history and characteristics, as well as

the seriousness of his offenses.




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   IV.      CONCLUSION

         The defendant pled guilty to a serious drug trafficking offense. Four people are dead as

a direct result of the defendant’s prescriptions. A sentence of 108 months will be sufficient, but

not greater than necessary to achieve Congress’ sentencing goals, set forth in 18 U.S.C. § 3553.

However, the United States objects to a sentence of less than 108 months, as such a sentence will

not be sufficient to adequately address the seriousness of this offense, to promote respect for the

law, provide just punishment, and to protect the public from the defendant and other doctors like

him.

         WHEREFORE, the United States respectfully request that the Court accept the parties

Rule 11(c)(1)(C) plea agreement and sentence the defendant to 108 months.

                                                      Respectfully submitted,

                                                      JOHN C. ANDERSON
                                                      United States Attorney

                                                      Electronically Filed 4/15/19
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I HEREBY CERTIFY that I electronically
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defense counsel of record.

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